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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

TERESA FORSYTHE                                    :
                                                   :
       v.                                          : CIVIL NO. CCB-11-2804
                                                   :
ARGOS ALLIANCE GROUP, LLC                          :
                                               ...o0o...

                                               ORDER

       A default having been entered by the Clerk on January 10, 2012 and a motion supported

by affidavit having been filed on March 7, 2012, it is hereby this 31st day of May, 2012

ORDERED that:

       1.    judgment is entered in favor of the plaintiff Teresa Forsythe and against the

             defendant Argos Alliance Group, LLC, in the amount of $10,000 in damages and

             $4,936.49 in attorney’s fees and costs, for a total of $14,936.49;

       2. copies of this Order shall be sent to the defendant and counsel of record; and

       3. the Clerk shall CLOSE this case.




                                                                              /s/
                                                       Catherine C. Blake
                                                       United States District Judge
